                                             IN THE
                                  UNITED STATES DISTRICT COURT
                                            FOR THE
                                  WESTERN DISTRICT OF VIRGINIA
                                       DANVILLE DIVISION

   UNITED STATES OF AMERICA                                )
                                                           )
  v.                                                       )       Criminal No. 4:18-CR-00011
                                                           )
  MARCUS JAY DAVIS, et al                                  )
                                                           )

                         UNITED STATES’ MOTION IN LIMINE
               TO ADD PREVIOUSLY DISCLOSED POWERPOINT SLIDES AND
                    HIGHER QUALITY PHOTOGRAPH AS EXHIBITS

          The United States of America respectfully moves the Court for permission to add two

  exhibits to its list of exhibits at trial in this case. First, the government seeks to add a set of twelve

  (12) PowerPoint slides which Firearms Expert Wendy Gibson will use during her testimony. Ms.

  Gibson will use the slides to explain to the jury the parts and operation of a firearm, the parts of a

  cartridge casing, and commonly used terminology in the field of Firearms and Toolmark

  examination. Second, the government seeks to add a new exhibit identical to current Government

  Exhibit 255 (Firearm’s Expert Scott McVeigh’s cartridge comparison photo) except that the new

  exhibit is of higher resolution and therefore better quality. As grounds for this Motion, the United

  States asserts the following:

          1.      Pursuant to the Court’s scheduling order, the United States disclosed its trial exhibits

  and corresponding exhibit list to the defendants on June 13-14, 2019, respectively, along with its list

  of trial witnesses. ECF No. 364.

          2.      On its exhibit list, the United States included a set of PowerPoint slides prepared by

  Forensic Scientist Gibson for use at trial. See Govt. Exhibit 324.

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           3.       On September 3-4, 2019, the Court conducted a Daubert hearing during which Ms.

  Gibson testified using a slightly modified version of the slides originally produced in Govt. Exhibit

  324.

           4.       After the Daubert hearing, the Court issued a Memorandum Opinion and Order which

  would make some of the original slides inadmissible in light of their content. ECF 737 and 738,

  respectively)

           5.       Accordingly, the United States asks the Court to permit the addition of twelve (12)

  PowerPoint slides, all of which were used at the Daubert hearing, for use by Wendy Gibson during

  the course of her testimony to educate the jury on firearms, ballistics and common terminology in the

  field of Firearms and Toolmark analysis. Each slide is void of any content that would run afoul of the

  Court’s post-Daubert ruling.

           6.       The proposed replacement photo for current government Exhibit 255 is simply a

  higher quality version of the original photograph.

           7.       The addition of these two exhibit after the trial exhibit deadline does not prejudice the

  defendants as the defendants have had these slides since the Daubert Hearing and, in fact, had an

  opportunity to cross-examine Ms. Gibson and Mr. McVeigh on these exhibits during the course of

  that hearing.

           WHEREFORE, the United States respectfully requests the addition of one item to its exhibit

  list for trial.


                                                    Respectfully submitted,

                                                    THOMAS T. CULLEN
                                                    UNITED STATES ATTORNEY

                                                      /s/Ronald M. Huber
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing Notice has been provided

  via electronic means via the Court’s CM/ECF filing system to counsel of record, this 4th day of

  October, 2019.


                                                /s/Ronald M. Huber
                                                Assistant United States Attorney




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